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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JAMARR BILLMAN,                                 :
              Plaintiff                         :         CIVIL ACTION
                                                :
              v.                                :
                                                :
EASTON AREA SCHOOL DISTRICT,                    :         No. 20-2730
              Defendant                         :

                                        ORDER

       AND NOW, this 30th day of August, 2022, upon consideration of Easton Area School

District’s Motion for Stay of Execution on Judgment and Proceedings to Enforce It Without a

Bond (Doc. No. 103) and Mr. Billman’s response indicating that he does not oppose the motion

(Doc. No. 107), it is hereby ORDERED as follows:

          1. The Motion (Doc. No. 103) is GRANTED for the reasons set forth in the

              accompanying Memorandum;

          2. Execution on the Judgment (Doc. No. 100) is STAYED pending post-trial motions

              and appeal; and

          3. No supersedeas bond is required.


                                                    BY THE COURT:


                                                     /s/ Gene E.K. Pratter
                                                    GENE E.K. PRATTER
                                                    UNITED STATES DISTRICT JUDGE




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